Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 1 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 2 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 3 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 4 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 5 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 6 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 7 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 8 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 9 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 10 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 11 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 12 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 13 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 14 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 15 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 16 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 17 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 18 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 19 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 20 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 21 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 22 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 23 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 24 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 25 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 26 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 27 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 28 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 29 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 30 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 31 of 32
Case 19-10731   Doc 76   Filed 05/14/19 Entered 05/14/19 12:41:30   Desc Main
                          Document     Page 32 of 32
